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                    14
                    15                                   UNITED STATES DISTRICT COURT
                    16                              CENTRAL DISTRICT OF CALIFORNIA
                    17
                    18 SHAHE SEKAYAN, an individual,                      Case No. 2:21-cv-07856-SB (KKx)
                    19                      Plaintiff,                    STIPULATION FOR DISMISSAL
                                                                          OF ACTION WITH PREJUDICE
                    20            vs.
                                                                          [Filed Concurrently with [Proposed]
                    21 BEN BRIDGE JEWELER, INC., a                        Order]
                       Washington Corporation and DOES 1
                    22 through 20, Inclusive,
                                                                          Hon. Stanley Blumenfeld, Jr.
                    23                      Defendants.                   Courtroom 6C
                    24
                                                                          Removal Filed:       October 1, 2021
                    25                                                    Action Filed:        August 31, 2021
                    26            Pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure,
                    27 Plaintiff Shahe Sekayan and Defendant Ben Bridge Jeweler, Inc. (collectively, the

LEWIS               28 “Parties”) by and through their respective attorneys of record stipulate as follows:
B RISBOIS
B ISGAARD                4866-7279-9759.1
& SMITHLLP
ATTORNEYS AT LAW                                STIPULATION FOR DISMISSAL OF ACTION WITH PREJUDICE
                   Case 2:21-cv-07856-SB-KK Document 15 Filed 02/28/22 Page 2 of 2 Page ID #:154




                     1            WHEREAS, the Parties have exchanged a fully executed settlement
                     2 agreement resolving this matter in its entirety.
                     3            WHEREAS, the Parties stipulate to the dismissal with prejudice of this action,
                     4 including all claims and counterclaims, with each party to bear its own attorneys'
                     5 fees and costs.
                     6            WHEREAS, the Parties request that the Court enter the [Proposed] Order of
                     7 Dismissal that is being lodged contemporaneously with this stipulation.
                     8
                     9 DATED: February 28, 2022                MANUKYAN LAW FIRM, APC
                    10
                    11
                                                               By:         /s/ Edgar Manukyan
                    12
                                                                     Edgar Manukyan
                    13                                               Attorneys for Plaintiff
                    14                                               SHAHE SEKAYAN

                    15
                    16
                    17
                    18 DATED: February 28, 2022                LEWIS BRISBOIS BISGAARD & SMITH LLP
                    19
                    20
                    21                                         By:         /s/ Jessica F. Hahn
                                                                     Jessica F. Hahn
                    22                                               Attorneys for Defendant
                    23                                               BEN BRIDGE JEWELER, INC.
                    24
                    25
                    26
                    27

LEWIS               28
B RISBOIS
B ISGAARD
& SMITHLLP
                         4866-7279-9759.1                            2
ATTORNEYS AT LAW                            STIPULATION FOR DISMISSAL OF ACTION WITH PREJUDICE
